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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   ELILE ADAMS,                                            CASE NO. C19-1263-JCC
10                             Petitioner,                   ORDER
11          v.

12   BILL ELFO, et al.,

13                             Respondents.
14

15          This matter comes before the Court on Petitioner Elile Adams’ motion for
16   reconsideration of the Court’s order dismissing Ms. Adams’ objections to United States
17   Magistrate Judge Michelle L. Peterson’s second Report and Recommendation (“R&R”)
18   regarding Ms. Adams’ second amended petition for a writ of habeas corpus (Dkt. Nos. 21, 45,
19   46, 54, 56). The facts of this case have been described by the Court previously and will not be
20   repeated here. (See Dkt Nos. 35, 43, 45 54.)
21           In her motion for reconsideration, Petitioner argues the Court committed manifest error
22   when it overlooked Petitioner’s objection to the Report and Recommendation regarding
23   application of the bad faith exception to the tribal exhaustion doctrine and when the Court
24   concluded that the Nooksack Tribe’s “jurisdictional rights to trust lands before Public Law 280
25   would, indeed, survive Public Law 280.” (Dkt. No. 56 at 1.) Finding good cause, the Court
26   ordered Respondents Deanna Francis, Betty Leathers, the Nooksack Indian Tribe, and the


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 1   Nooksack Tribal Court to respond to Ms. Adams’ objections. (Dkt. No 59.)

 2          As it relates to the bad faith exception, the Court did not overlook Petitioner’s objection.

 3   The Court previously overruled Ms. Adams’ objections to Judge Peterson’s recommendation

 4   regarding Ms. Adams’ application of the bad faith exception. (See Dkt Nos. 43 at 4–5; 45 at 5.)

 5   Ms. Adams did not seek timely reconsideration of that order from the Court. See W.D. Wash.

 6   Local Civ. R. 7(h) (a “motion [for reconsideration] shall be filed within fourteen days after the

 7   order to which it relates is filed”). Therefore, no further consideration of that objection is

 8   warranted.
 9          However, the Court does find that additional consideration of Ms. Adams’ argument that
10   her failure to exhaust was excused based on futility—namely that the Nooksack Tribal Court
11   plainly lacked jurisdiction over her because she was arrested on off-reservation allotted lands—is
12   warranted. (See Dkt. No. 54 at 3–4 (the Court’s finding that the Nooksack Tribal Court did not
13   plainly lack jurisdiction over the allotted lands based on conflicting and unclear authority
14   applying Public Law 280’s divestiture provision to such lands); Dkt. No. 45 at 5–11 (similar
15   finding by Judge Peterson).) Ms. Adams alleges that Public Law 280 predates the United States’
16   recognition of the Nooksack Tribe. (Dkt. No. 56 at 1–2.) Therefore, the import of Public Law
17   280 and related authority in considering the Nooksack Tribal Court’s jurisdiction over the off-
18   reservation Suchanon allotment where Ms. Adams was arrested requires further consideration.

19          For the foregoing reasons, Ms. Adams’ motion for reconsideration (Dkt. No. 56) is

20   GRANTED in part and DENIED in part. The Court REMANDS the R&R in accordance with

21   Federal Rule of Civil Procedure 72(b)(3). On remand, the magistrate judge must consider

22   whether the fact that Public Law 280 predates federal recognition of the Nooksack Tribe impacts

23   its determination that the Nooksack Tribal Court did not plainly lack jurisdiction over the

24   Suchanon allotment at the time of Ms. Adams’ arrest.

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 1          DATED this 4th day of November 2020.




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                                                   John C. Coughenour
 5                                                 UNITED STATES DISTRICT JUDGE
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